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                 EXHIBIT B-139
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                                                                                        FILED IN OFFICE



                  IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATE OF GEORGIA

                                                     •

IN RE: 2 MAY 2022 SPECIAL
PURPOSE GRAND JURY
                                                     •      CASE NO. 2022-EX-000024



                                                     •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests     permission   to use a recording device in
Courtroom Judge McBurney SD in order to [gjrecord images and/or [gjsound
during all or portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [gjcomputer of any size, including a
tablet, a notebook, and a laptop; [glsmart phone, a cell phone or other wireless
phone; [gj camera and other audio or video recording devices D any similar
devices --

The proceedings         that the undersigned
                                         desires to record commence on (date and
time) January   24, 2022 at 12 pm. Subject to direction from the court
regarding possible pooled coverage, the undersigned wishes to use this device
in the courtroom on (date and time) January 24, 2022 at 12 pm

The personnel      who will be responsible               for the use of this recording device are:
(identify appropriate   personnel   or individual)   Sam Gringlas and/ or Rahul Bali, Matt
Pearson.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email pio@fultoncountyqa.gov                                          1
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guidelines issued by the court.

WABE-NPR
(News Agency/Media         Outlet/Law Firm/Individual       Representative)

sgringlas@wabe.org
(Email Address)

678-686-032 l
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


              The requesting agency:
                            be pool for its media
                      ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 23 rd day of January            2023.




                                  uperior Court of Fulton County
                                 Atlanta Judicial Circuit




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Rule 22 (Rev. 04/01/ 18)
